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                                                     PRECEDENTIAL

                  UNITED STATES COURT OF APPEALS
                       FOR THE THIRD CIRCUIT


                                 No. 07-2853


                         CHRISTOPHER FURNARI,

                                                         Appellant

                                      v.

                UNITED STATES PAROLE COMMISSION;
                     WARDEN FCI ALLENWOOD


                On Appeal from the United States District Court
                    for the Middle District of Pennsylvania
                          (D.C. Civ. No. 06-cv-00342)
                   Honorable Malcolm Muir, District Judge


                  Submitted under Third Circuit LAR 34.1(a)
                               June 10, 2008


                   BEFORE: AMBRO, CHAGARES, and
                      GREENBERG, Circuit Judges

                             (Filed: July 9, 2008)
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        Flora Edwards
        115 Broadway
        New York, NY 10006-0000

           Attorney for Appellants

        Martin C. Carlson
        Acting United States Attorney
        Kate L. Mershimer
        Assistant United States Attorney
        228 Walnut Street, P.O. Box 11754
        220 Federal Building and Courthouse
        Harrisburg, PA 17108-0000

           Attorneys for Appellee


                        OPINION OF THE COURT



        GREENBERG, Circuit Judge.


                            I. INTRODUCTION


                On February 15, 2006, appellant Christopher Furnari
        filed a habeas corpus petition pursuant to 28 U.S.C. § 2241 in
        the District Court claiming that the United States Parole

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        Commission (“Parole Commission”) improperly had denied him
        parole. Furnari is serving a pre-Sentencing Guidelines 100-year
        sentence (five consecutive 20-year sentences) for RICO and
        Hobbs Act convictions related to extortion and racketeering.
        Since the start of his incarceration the Parole Commission has
        granted Furnari five parole hearings but has not ordered him
        paroled either at the time of its decision or on some future date.
        Furnari claims that the Parole Commission has based its denial
        of parole on an improper calculation of his offense severity
        rating and has failed to consider mitigating factors in his favor.
        On June 20, 2007, the District Court denied Furnari’s petition
        and, on the next day, Furnari filed a timely notice of appeal to
        this Court.


                II. FACTS AND PROCEDURAL HISTORY
               Obviously this case has a long history but we only need
        recount that history from 1986, when a jury convicted Furnari
        of racketeering, extortion, and racketeering conspiracy under
        RICO and the Hobbs Act in the United States District Court for
        the Southern District of New York. Furnari was consigliere, a
        high ranking position, of the Lucchese1 crime family.
        Furthermore, the Government suspected that he was a member
        of “the commission,” the national ruling body of the mafia, also
        known as La Cosa Nostra, of which the Lucchese crime family
        was a part. See United States v. Salerno, 868 F.2d 524, 543 (2d
        Cir. 1989). Furnari’s conviction stemmed from an extortion and
        labor bribery operation that the commission, which controlled

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           Throughout the record the family name is spelled both as
        Luchese and Lucchese.

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        large concrete construction contracts in New York City, ran as
        one of its nefarious activities. In the concrete scheme the
        commission demanded and received 2% of the price of concrete
        contracts worth more than two million dollars and, in exchange,
        ensured “labor peace.” The commission forced the concrete
        companies to make payments or risk retaliation by labor unrest
        or physical harm. Id. at 529.
                Furnari currently is serving his 100-year sentence at the
        Federal Correctional Institution in Allenwood in the Middle
        District of Pennsylvania. On direct appeal from his convictions
        and sentences Furnari argued that his 100-year sentence was
        disproportionate to the gravity of his crimes because he was not
        a mafia boss or underboss. The United States Court of Appeals
        for the Second Circuit upheld the sentence because Furnari’s
        role as consigliere made him the equivalent of an underboss and
        Furnari’s sentence was consistent with the sentences of six of
        his seven co-defendants and thus was consistent with sentences
        imposed on similarly situated prisoners. Id. at 543. Since his
        conviction Furnari has filed four petitions for habeas corpus, the
        denial of the fourth of which he challenges on this appeal.
        Furnari’s current status is that the Parole Commission has
        denied him parole pending a 2011 rehearing.
                (a) 1996-2000: The First Parole Hearing, the First
                Habeas Corpus Petition and First Interim Parole Hearing
               Furnari’s first parole hearing was in December 1996. At
        the hearing the Government produced evidence of Furnari’s
        involvement in a number of murders and other violent acts. The
        Parole Commission assigned Furnari an offense severity rating
        of Category Eight, the most severe rating. See 28 C.F.R. § 2.20.
        Category Eight offenders are not granted parole in the absence

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        of compelling mitigating circumstances.
                The Parole Commission recommended that Furnari
        continue to serve his sentence until a 15-year reconsideration
        hearing in December 2011. In its Notice of Action the Parole
        Commission specified that Furnari’s involvement in the
        Lucchese crime family and his participation in murders and
        violence were the pertinent factors warranting consideration for
        release after more than 148 months served. See 28 C.F.R. §
        2.20 (“For decisions exceeding the lower limit of the applicable
        guideline category by more than 48 months, the [Parole]
        Commission will specify the pertinent case factors upon which
        it relied in reaching its decision.”). Furnari’s applicable parole
        guideline category as set forth in 28 C.F.R. § 2.20 was 100+
        months predicated on his offender characteristics. Of course,
        service of 148 months imprisonment merely made Furnari
        eligible for parole rather than ensuring that he would be paroled.
        On August 19, 1997, the National Appeals Board (“Board”), the
        administrative appeals authority in the parole system, affirmed
        the decision of the Parole Commission. In reaching its result the
        Board relied in part on information that Anthony Casso, a
        violent mafia member, had supplied. In justifying this reliance
        the Board pointed out that there was corroboration for some of
        Casso’s information.
               In February 1998 Furnari petitioned for a writ of habeas
        corpus in the District Court contending that his Category Eight
        rating was erroneous. The court denied Furnari’s petition on
        April 12, 1999, finding that there was a rational basis for the
        Parole Commission’s decision assigning him that category.
        Furnari then appealed to this Court.
                While that appeal was pending, the Parole Commission

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        granted Furnari a statutory Interim Parole Hearing in December
        1998 pursuant to 18 U.S.C. § 4208(h) and 28 C.F.R. § 2.14.
        During the hearing Furnari argued that Casso’s information was
        unreliable and he presented an affidavit from an assistant United
        States attorney supporting his contention. Nevertheless the
        Parole Commission did not change the prior order requiring
        Furnari to serve his sentence until a 15-year reconsideration
        hearing in December 2011. The Board affirmed the order of the
        Parole Commission on April 2, 1999, and issued a Notice of
        Action on Appeal.
                In our disposition of Furnari’s appeal from the denial of
        his first habeas corpus petition we took judicial notice of
        Furnari’s December 1998 interim hearing and the April 2, 1999
        Notice of Action on Appeal. Furnari v. Warden, Allenwood
        F.C.I., 218 F.3d 250, 255-56 (3d Cir. 2000). We found that the
        Parole Commission and the Board erred because they did not
        explain whether they had continued to deny Furnari parole based
        on Casso’s information and, if so, why they did so. Id. at 257.
        Consequently, we vacated the District Court’s order denying the
        habeas corpus petition and remanded the case with the direction
        that the District Court enter a conditional order granting the
        petition and directing the Parole Commission to provide a new
        statement of reasons for its decision or conduct a de novo
        hearing on Furnari’s parole application. Id. at 258.
               In response to the District Court’s order implementing
        our mandate, the Parole Commission conducted a de novo
        hearing in December 2000 and upheld Furnari’s Category Eight
        rating as well as its decision to postpone a rehearing for more
        than 148 months. Furnari appealed to the Board which on April
        24, 2001, affirmed the order of the Parole Commission, stating

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        that the Parole Commission had chosen to rely on Casso’s
        information in part because information from other witnesses
        corroborated it.
                (b) 2002: The Second Habeas Corpus Petition
                In April 2002, Furnari filed a second habeas corpus
        petition in the District Court advancing four points: (1) the
        Parole Commission following the December 2000 hearing failed
        to provide adequate reasons for crediting Casso’s information;
        (2) the Parole Commission violated the Ex Post Facto Clause of
        the Constitution by applying an inapplicable version of the
        Guidelines for Decisionmaking, 28 C.F.R. § 2.20, adopted after
        he committed his offenses; (3) the evidence did not support the
        Parole Commission’s decision; and (4) the Parole Commission’s
        reliance on conduct other than that of the offenses of the
        conviction violated its own rules as well as due process of law.
               On July 18, 2002, the District Court granted the petition
        on the ex post facto contention and ordered the Parole
        Commission to reevaluate Furnari’s appeal in accordance with
        the version of 28 C.F.R. § 2.20 in effect at the time that Furnari
        committed the offenses for which he had been convicted. But
        the court denied Furnari’s petition in all other respects, finding
        that the Parole Commission had a rational basis to support its
        conclusions and properly had considered Furnari’s conduct
        outside of the scope of his conviction in deciding his offense
        severity rating. Furnari did not appeal to this Court from that
        decision.
               In response to the District Court’s July 18, 2002 order,
        the Parole Commission issued a Notice of Action on August 13,
        2002, stating that it had reevaluated Furnari’s case considering

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        the correct version of 28 C.F.R. § 2.20 but had decided not to
        change its prior decision. The Board affirmed the Parole
        Commission’s order on November 14, 2002.
                (c) 2003-2004: The Third Habeas Petition
               On November 13, 2003, Furnari filed a third petition for
        habeas corpus in the District Court claiming that the Parole
        Commission’s August 13, 2002 decision violated due process of
        law inasmuch as the Parole Commission in making its decision
        relied on conduct not related to his offenses and the decision
        lacked a rational basis because the Parole Commission in
        reaching its result relied on Casso’s information. In March 2004
        the District Court denied the petition, noting that it had
        addressed and rejected the same arguments in its order of July
        18, 2002, partially denying the habeas corpus application that
        Furnari then was advancing. App. at 186. The court also held
        that there was a rational basis for the Parole Commission’s
        decision. Id.
               Furnari appealed to this Court but we affirmed the
        District Court’s order because we concluded that the Parole
        Commission could consider Furnari’s conduct unrelated to the
        offenses for which he had been convicted in determining his
        offense severity rating. Moreover, we determined that the
        Parole Commission had a rational basis for awarding Furnari a
        Category Eight rating. Furnari v. United States Parole Comm’n,
        125 Fed. App’x 435, 437 (3d Cir. 2005).
                (d) 2005: Statutory Interim Parole Hearing and the
                Current Habeas Petition
               On June 8, 2005, Furnari received another statutory
        interim hearing pursuant to 18 U.S.C. § 4208(h) and 28 C.F.R.

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        § 2.14. At the time of the hearing the Parole Commission was
        scheduled to expire on October 31, 2005. During the hearing
        Furnari argued that information from Alphonse D’Arco in the
        form of trial testimony corroborating Casso’s information
        factually was impossible and the Parole Commission should not
        consider the testimony in reaching its decision. The Parole
        Commission denied Furnari parole on July 8, 2005, and adhered
        to the 2011 rehearing date. On September 29, 2005, Congress
        extended the life of the Parole Commission for an additional
        three years to October 31, 2008, its current expiration date.
               Furnari appealed from the Parole Commission’s July 8,
        2005 order to the Board making the following claims: (1) the
        Commission exceeded its authority when it scheduled a
        rehearing in 2011; (2) his Category Eight severity rating was
        unjust because it was based on information from unreliable
        witnesses and factually was incorrect; (3) there was significant
        information that D’Arco was not credible; (4) the Parole
        Commission did not properly consider additional information
        regarding the credibility of the informants in the interim hearing;
        (5) his 100-year sentence was grossly disproportionate to his
        crimes and the Parole Commission should have considered this
        circumstance to be a mitigating factor when determining his
        parole eligibility; and (6) the Parole Commission should have
        been more lenient to him on the grounds of compassion,
        considering his age2 and excellent behavior rating. On
        November 23, 2005, the Board rejected all of Furnari’s
        arguments and thus upheld the Parole’s Commission’s order.
                On February 14, 2006, Furnari filed the habeas corpus
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          According to his brief filed October 17, 2007, Furnari was 83
        years old at that time.

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         petition, an appeal from the denial of which now is before us,
         pursuant to 28 U.S.C. § 2241 in the District Court challenging
         the Parole Commission’s July 8, 2005 decision and the Board’s
         November 23, 2005 decision affirming the July 8, 2005
         decision. He raised the following four claims in the District
         Court: (1) the Parole Commission violated 18 U.S.C. § 4206(c),
         section 235(b)(3) of the Sentencing Reform Act, and its own
         regulations, by scheduling a rehearing date past the date of its
         statutory expiration; (2) the Parole Commission’s Category
         Eight severity rating lacked a rational basis; (3) the Board
         violated due process of law by failing to consider what Furnari
         considers to be exculpatory evidence; and (4) the Parole
         Commission should have considered his 100-year sentence to be
         grossly disproportionate and thus should have treated its length
         as a mitigating circumstance in its decision.
                By order entered on June 20, 2007, the District Court
         denied Furnari’s petition. Furnari then filed a timely notice of
         appeal of the District Court’s June 20, 2007 order to this Court.
         We now adjudicate that appeal.

           III. JURISDICTION AND STANDARDS OF REVIEW
                The District Court had jurisdiction over this matter
         pursuant to 28 U.S.C. § 2241(a). We have jurisdiction pursuant
         to 28 U.S.C. §§ 1291 and 2253.
                On appeal in this habeas corpus proceeding, we exercise
         plenary review of the District Court’s legal conclusions. See
         Wilson v. United States Parole Comm’n, 193 F.3d 195, 197 (3d
         Cir. 1999). Our role in reviewing decisions of a district court
         in a proceeding arising from a Parole Commission and Board

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         disposition on a petition for a writ of habeas corpus is more
         limited insofar as the review includes a review of the Parole
         Commission’s and Board’s action.              We review the
         administrative findings of fact to determine “whether there is a
         rational basis in the record for the [Parole Commission’s]
         conclusions embodied in its statement of reasons.” Gambino v.
         Morris, 134 F.3d 156, 160 (3d Cir. 1998) (quoting Zannino v.
         Arnold, 531 F.2d 687, 691 (3d Cir. 1976)); see also 28 C.F.R. §
         2.18 (“The granting of parole to an eligible prisoner rests in the
         discretion of the U.S. Parole Commission.”).


                               IV. DISCUSSION
                A. Was the District Court correct in holding that the
                Parole Commission did not violate the Sentencing
                Reform Act, 18 U.S.C. § 235(b)(3), when it scheduled a
                rehearing date past the statutory expiration date for the
                Commission?
                Furnari claims that the Parole Commission violated
         section 235(b)(3) of the Sentencing Reform Act, referred to as
         a “winding down” provision, which at the time of Furnari’s
         sentencing provided:
                The United States Parole Commission shall set a
                release date, for an individual who will be in its
                jurisdiction a day before the expiration of five
                years after the effective date of this Act, that is
                within the range that applies to the prisoner under
                the applicable guideline. A release date set
                pursuant to this paragraph shall be set early
                enough to permit consideration of an appeal of the

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                release date, in accordance with Parole
                Commission procedures, before the expiration of
                five years following the effective date of this Act.
         Sentencing Reform Act of 1984, Pub. L. No. 98-473, §
         235(b)(3), 98 Stat. 2032 (1984) (prior to 1987 amendment).
         Even though Congress has repealed section 235(b)(3) the parties
         briefed this case on the basis of their understanding, with which
         we agree, that it continues to control this pre-Sentencing
         Guidelines case, though they disagree about the section’s effect.
         When Congress enacted section 235(b)(3) the Parole
         Commission was scheduled to expire five years after the
         effective date of the Sentencing Reform Act and thus it is clear
         that Congress contemplated that the Parole Commission should
         not expire without setting release dates for prisoners within its
         jurisdiction. Though the phrase “early enough to permit
         consideration of an appeal of the release date” obviously is not
         precise, it is applied to require that between three to six months
         before the date of its expiration, a date that has been extended
         several times, the Parole Commission must set a release date
         which, of course, could be scheduled for long in the future. See
         28 C.F.R. § 2.64(b) (1996) (“The release dates required by
         section 235(b)(3) need not be set any earlier than the time
         required to allow an administrative appeal within the ten-year
         period, i.e., three to six months before the end of that period.”);
         Lightsey v. Kastner, 846 F.2d 329, 332 (5th Cir. 1988).
               Currently the Parole Board is scheduled to expire on
         October 31, 2008. See United States Parole Commission
         Extension Authority Act of 2005, P.L. No. 109-76, 199 Stat.
         2035, § 2 (Sept. 29, 2005). Accordingly, inasmuch as section
         235(b)(3) still requires that the Parole Commission before its

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         expiration set dates for release early enough for appeals for
         prisoners still within its jurisdiction one day before its
         expiration, as of now no later than three to six months prior to
         October 31, 2008, it should set release dates for prisoners who
         will be within its jurisdiction one day before that date. See
         United States ex rel. D’Agostino v. Keohane, 877 F.2d 1167,
         1172 (3d Cir. 1989). Nevertheless the Parole Commission does
         not have to act before the expiration of the three- to six-month
         period, and if it does choose to act before or during the three- to
         six-month period it is free later to set release dates beyond
         October 31, 2008. See id.
                 Here, on July 8, 2005, the Parole Commission denied
         Furnari parole and adhered to the rehearing date it had set for
         2011 and thus it cannot be said that it set a release date in the
         three- to six-month period before October 31, 2005, when, prior
         to its latest extension, it was scheduled to expire. Though the
         Parole Commission’s failure to set a release date might have
         been problematical, Congress eliminated, or at least postponed,
         the problem when on September 29, 2005, it extended the life of
         the Parole Commission to October 31, 2008, when it now will
         expire unless, as the Government contemplates will happen,
         Congress extends its life.
                 In its order of June 20, 2007, now on appeal before us in
         these habeas corpus proceedings challenging the Parole
         Commission’s July 8, 2005 decision and the Board’s decision of
         November 23, 2005, affirming the Parole Commission’s
         decision, the District Court rejected Furnari’s claim that the
         Parole Commission was in violation of section 235(b)(3), by
         reason of having failed to set a release date, as the court noted
         that “[the statute] will require the Parole Commission, prior to

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         its expiration, to set a definite release date . . . but that statute
         does not require that the Parole Commission set such a date
         now.” App. at 35. The District Court was correct because the
         Parole Commission took its July 8, 2005 action setting the
         rehearing date but not a release date before the end of three- to
         six-month period prior to the expiration of the Commission then
         scheduled for October 31, 2005, and before the now extended
         date of October 31, 2008. Thus, we see no basis to reverse the
         order of the District Court of June 20, 1997, on the theory that
         the Parole Commission did not timely perform its duties and
         accordingly to the extent that Furnari challenges the timeliness
         of the Parole Commission’s decision we will affirm the June 20,
         2007 order.
                In affirming we are doing so without precluding Furnari
         from filing a new habeas corpus action at the end of the three-
         to six-month period prior to October 31, 2008, if the Parole
         Commission by that time has not set a release date for him.3 In

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              The Government contends that the Parole Commission
         lawfully may comply with section 235(b)(3) by denying parole.
         But inasmuch as the Parole Commission has not merely denied
         Furnari parole but, instead, has set a hearing date for 2011, we
         see no need to consider whether we agree with the Government.
         On the other hand, we do not see how the Parole Commission
         can comply with section 235(b)(3), which requires it to set a
         “release date” early enough to permit the prisoner to appeal
         from that release date to the Board before the Parole
         Commission expires, simply by setting a hearing date for some
         future date during the three-to six-month period before its
         expiration.


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         this regard we reiterate that the Parole Commission currently is
         scheduled to expire on October 31, 2008, and, though the
         Government believes that Congress will extend its life, we make
         our determination on the basis of what the law now is rather
         than what it may become. Of course, we express no opinion on
         what disposition the District Court should make in a new habeas
         corpus action if Furnari brings it, particularly inasmuch as
         Congress may extend the life of the Parole Commission again
         even after the three- to six-month period expires or might
         transfer its functions to another authority.
                B. Does Furnari’s repeated litigation of the Parole
                Commission’s denial of parole based on his offense
                severity rating constitute an abuse of writ?4


                 Furnari also claimed in his petition in the District Court
         that the Parole Commission erroneously considered unreliable

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              We think that it is appropriate that we consider Furnari’s
         remaining points inasmuch as the time when he may raise the
         points in a new petition for habeas corpus may be only a few
         weeks in the future. Functionally, therefore, insofar as this case
         implicates the Parole Commission’s failure to act we are in a
         situation very little different from that in which we remand a
         case for a new trial and in our disposition consider issues likely
         to be raised again on remand though we need not do so. See,
         e.g., Diehl v. Blaw-Knox, 360 F.3d 426, 433 n.5 (3d Cir. 2004).
         Moreover, Furnari’s arguments, if accepted, may provide a basis
         for habeas corpus relief that is independent of his argument that
         the Parole Commission should have set a release date by now.


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         testimony when it determined that his offense severity rating
         was Category Eight. The Government answers that by asserting
         this claim Furnari is abusing the writ of habeas corpus.
                Furnari has raised the claim of an erroneous offense
         severity rating in all four of his habeas corpus petitions. The
         District Court denied his first petition in April 1999 but we
         vacated that order after we took notice of the Board’s failure to
         specify the pertinent case factors on which it relied in reaching
         its decision. Furnari, 218 F.3d at 256.5 The District Court
         rejected the erroneous offense severity claim in Furnari’s second
         habeas petition in its July 18, 2002 order, a decision that Furnari
         did not appeal to this Court. In March 2004 the District Court
         denied Furnari’s third habeas corpus petition seeking relief in
         part on the basis of an erroneous offense severity rating. In that
         decision the District Court noted that it had addressed the same
         issue in its July 18, 2002 order. As we have indicated, we
         affirmed the District Court’s March 2004 order. Furnari, 125
         Fed. App’x at 437. When the District Court denied this claim
         and all other claims in Furnari’s fourth habeas petition in its
         June 20, 2007 order, it stated that he previously had raised the
         issue and that we had upheld the District Court’s rejections of it.

                  When a prisoner files multiple petitions for habeas corpus
         relief, the abuse of the writ doctrine as set forth in 28 U.S.C. §
         2244(a) may bar his claims:
                No circuit or district judge shall be required to
                entertain an application for a writ of habeas

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           Of course, the Parole Commission ultimately adhered to the
         Category Eight rating.

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                corpus to inquire into the detention of a person
                pursuant to a judgment of a court of the United
                States if it appears that the legality of such
                detention has been determined by a judge or court
                of the United States on a prior application for a
                writ of habeas corpus, except as provided in
                section 2255.
         The Supreme Court has determined that “nothing in [28 U.S.C.]
         § 2255 requires that a sentencing court grant a hearing on a
         successive motion alleging a ground for relief already fully
         considered on a prior motion and decided against the prisoner.”
         Sanders v. United States, 373 U.S. 1, 9, 83 S.Ct. 1068, 1074
         (1963).
                The Court in Sanders explained that a court may grant
         controlling weight to a denial of a prior application for habeas
         corpus when three criteria are met: (1) the same ground
         presented in the successive application was determined
         adversely to the applicant on the previous application; (2) the
         previous determination was made on the merits; and (3) “the
         ends of justice” would not be served by reaching the merits of
         the subsequent application. Id. at 11, 83 S.Ct. at 1075.
                 In a case in which a successive petition includes a claim
         for relief already fully considered and rejected, if the
         Government opposes the petition on an abuse of the writ basis
         it has the burden to plead abuse of the writ and must make the
         claim with clarity and particularity in its answer to the petition.
         Id. at 10-11, 83 S.Ct. at 1074-75. But once the Government has
         made a claim of abuse of the writ, the burden shifts to the
         petitioner to show that “the ends of justice” would be served by
         the court entertaining his petition, a showing that the petitioner

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         satisfies by supplementing his claim by making a “colorable
         showing of factual innocence.” Kuhlmann v. Wilson, 477 U.S.
         436, 454, 106 S.Ct. 2616, 2627 (1986).
                 Here the Government argues that Furnari has abused the
         writ by again asserting his severity rating claim and it has
         identified the relevant history of Furnari’s petitions to support
         this contention. Specifically, the Government cites the District
         Court’s July 18, 2002 order issued in response to Furnari’s
         second habeas petition in which the District Court reviewed the
         Parole Commission’s explanation of its credibility assessment
         of the Government informants and found that the Parole
         Commission had a rational basis for its acceptance of and
         reliance on the information received at the parole hearing.
         Accordingly, the District Court already had considered fully and
         rejected the severity rating claim on the merits before Furnari
         presented the same claim in his current application. Thus, we
         may give controlling weight to the denial of Furnari’s prior
         habeas corpus petition with respect to the severity rating claim
         so long as giving it that weight would not offend “the ends of
         justice.”
                As we stated above, to meet the requirements for an ends
         of justice claim, Furnari must supplement his claim with a
         “colorable showing of factual innocence.” Kuhlmann, 477 U.S.
         at 454, 106 S.Ct. at 2627. But instead of claiming that he is
         innocent of the offenses for which he was convicted as
         Kuhlmann requires, Furnari claims that he is innocent of
         uncharged murders and violent conduct that the Parole
         Commission considered when it made its determination of his
         offense severity rating. He argues that we can consider this
         claim when determining whether he has made a colorable

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         showing of factual innocence and points to two Supreme Court
         cases for support of his argument: Murray v. Carrier, 477 U.S.
         478, 106 S.Ct. 2639 (1986), in which the Court indicated that in
         extraordinary cases, where a constitutional violation probably
         has resulted in the conviction of an individual who is actually
         innocent, a district court may grant the writ; and Schlup v. Delo,
         513 U.S. 298, 115 S.Ct. 851 (1995), in which the Court stated
         that in order to establish a probability of innocence a petitioner
         must show that it is more likely than not that no reasonable juror
         would have convicted him in light of new evidence not
         presented at the trial.
                 But these cases are not helpful to Furnari because they
         address situations in which prisoners may be innocent of the
         offenses for which they were convicted and imprisoned. Furnari
         does not supplement his claim with a colorable showing of
         factual innocence of the offenses for which he was convicted
         and, in fact, in these proceedings does not challenge his
         convictions on any basis. Indeed, no one can describe better
         than Furnari himself the wrong focus of his “colorable showing
         of factual innocence” claim than he does in his brief in which he
         explains that he “finds himself in the unique position of having
         to prove himself innocent of conduct for which he never has
         been charged in order to contest what appears to be an
         irrebutable presumption against his parole.” Appellant’s br. at
         41-42.
                But even if he could make a showing of actual innocence
         with respect to uncharged conduct he would not demonstrate
         that an “ends of justice” circumvention of the abuse of the writ
         bar would be appropriate because he would not make a
         colorable showing of actual innocence of the offenses for which

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         he was convicted. Moreover, even if he could satisfy the “ends
         of justice” standard by making a showing different from a
         “colorable showing of factual innocence” of the offenses of
         conviction, we see nothing in the record to justify a conclusion
         that Furnari has made that showing by demonstrating that the
         Parole Commission wrongfully considered the uncharged
         conduct in calculating his category Eight severity rating.
         Accordingly, he has not shown that “the ends of justice” would
         be served by reaching the merits of his severity rating claim.
                 Furnari also asks that we consider his latest challenge to
         the truth of the information corroborating Casso’s information
         as new evidence. But neither the information nor the claim is
         new. We previously have considered and rejected Furnari’s
         contention that there was no rational basis for the Parole
         Commission’s justification for his Category Eight rating. See
         Furnari, 125 Fed. App’x at 437 (confirming the existence of a
         rational basis for the Parole Commission’s conclusions). Thus,
         by advancing the litigation on the severity rating issue Furnari
         is abusing the writ and, accordingly, we will affirm the District
         Court’s denial of habeas relief on this claim.
                C. Did the Parole Commission properly consider
                exculpatory evidence in its decision to continue to deny
                Furnari parole?
                Furnari claims that the Parole Commission’s findings
         regarding the credibility of the information from various
         informants are arbitrary, capricious, and without a rational basis.
         We already have held that the Parole Commission had a rational
         basis for its factual findings with respect to Furnari’s alleged
         involvement in uncharged murders. Furnari, 125 Fed. App’x at
         437. Nevertheless we will consider this contention inasmuch as

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         the Government does not contend that Furnari is abusing the
         writ by advancing the claim.
                Congress has given the Parole Commission great
         discretion concerning matters of parole. See 18 U.S.C. § 4203.
         In addition, applicable regulations permit the Parole
         Commission to use all relevant, available information in making
         parole determinations. Thus, 28 C.F.R. § 2.19(c) provides that:
                The Commission may take into account any
                substantial information available to it in
                establishing the prisoner’s offense severity rating,
                salient factor score, and any aggravating or
                mitigating circumstances, provided the prisoner is
                apprised of the information and afforded an
                opportunity to respond. If the prisoner disputes
                the accuracy of the information presented, the
                Commission shall resolve such dispute by the
                preponderance of the evidence standard; that is,
                the commission shall rely upon such information
                only to the extent that it represents the
                explanation of the facts that best accords with
                reason and probability.
                 18 U.S.C. § 4206(c) permits the Parole Commission to
         grant or deny release on parole notwithstanding the guidelines
         of that section so long as it has good cause for doing so and it
         furnishes the prisoner with written notice stating with
         particularity the reasons for its determination. “Good cause”
         requires substantial reasons for the Parole Commission’s action
         and includes only grounds which are “not arbitrary, irrational,
         unreasonable, irrelevant or capricious.” Harris v. Martin, 792
         F.2d 52, 55 (3d Cir. 1986). “Good cause” may include

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         considerations of factors such as whether “the prisoner was
         involved in an offense with an unusual degree of sophistication
         or planning or has a lengthy prior record, or was part of a large
         scale conspiracy or continuing criminal enterprise.” Romano v.
         Baer, 805 F.2d 268, 270 (7th Cir. 1986) (quotation marks and
         citation omitted). Although the Parole Commission’s decisions
         must have a factual basis, judicial review is limited to whether
         there is “some evidence” in the record to support its decision.
         Maddox v. United States Parole Comm’n, 821 F.2d 997, 999
         (5th Cir. 1987).
                When there is conflicting information available to the
         Parole Commission, it must resolve disputes about the
         information by “a preponderance of the evidence.” Gambino v.
         Morris, 134 F.3d at 168. See Campbell v. United States Parole
         Comm’n, 704 F.2d 106, 114 (3d Cir. 1983). Clearly we cannot
         overturn the Parole Commission’s credibility determination if
         there is a basis for its decision. See Hackett v. United States
         Parole Comm’n, 851 F.2d 127, 131 (6th Cir. 1987). Moreover,
         the Parole Commission is entrusted with the power to determine
         the weight to be accorded mitigating factors.
                 Furnari asserts that the Parole Commission improperly
         discredited an affidavit of George Zappola and an autobiography
         of Salvatore Gravano that support his position minimizing his
         role in violent mafia criminal activity while assigning too much
         credit to adverse information from Thomas Carew in its
         November 23, 2005 Notice of Action on Appeal. In that notice,
         the Board explained its decision regarding its assessment of the
         credibility of conflicting information in the record:
                The Board rejects your claim and finds that the
                affidavit does not prove that you had nothing to

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                do with the murder of Richard Taglianetti. The
                Board finds Zappola’s affidavit not to be credible
                because it was submitted so late, five years after
                you made this argument at your initial hearing in
                2000, and because it is not corroborated, whereas
                the reason for Taglianetti’s murder on which the
                Commission relied was corroborated by several
                individuals. Further, Zappola affirms in his
                affidavit that ‘Taglianetti was killed only because
                of what he did to my wife’ (Exhibit X), but that
                assertion is contradicted by evidence in your
                Exhibits V and W. The Board finds more
                credible the contradictory evidence contained in
                the exhibits. First, according to the testimony of
                an FBI agent set forth in Exhibit V, Taglianetti’s
                argument with his sister-in-law was not the sole
                or even the most important reason for his murder,
                but was simply the event that caused the Lucchese
                Family to more vigorously pursue the still
                existing contract that you put out on him in 1983
                when you were the Lucchese consigliere.
                [Testimony from FBI Agent Byrne omitted.]
                Second, as shown in Exhibit W, when Zappola
                pleaded guilty to Taglianetti’s murder, he never
                mentioned avenging his wife’s honor or her being
                ‘slapped around’ by Taglianetti as a reason for the
                murder. He affirmed that the murder was to
                advance his position in the racketeering
                enterprise. Zappola testified at the plea hearing
                that he conspired with others to murder
                Taglianetti ‘for the purpose of maintaining and

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                increasing my position in an association in fact
                enterprise, consisting of myself and others, which
                enterprise engaged in racketeering activity.’
         App. at 121. It is clear from the above that the Board considered
         the evidence concerning Furnari’s uncharged conduct and found
         that the information Furnari claims exculpates him from
         criminal conduct attributed to him is less credible than that
         which implicates him in mafia related murders and beatings. Id.
                Furnari attempts to analogize his case to Gambino in
         which we found that the Parole Commission’s denial of parole
         was “arbitrary and capricious” and thus remanded the case for
         reconsideration.    134 F.2d at 165.           But this case is
         distinguishable from Gambino because we based our
         conclusions there in part on the fact that the Parole Commission
         relied on information from unnamed sources, a procedure that
         deprived the prisoner of the opportunity to rebut the
         information. Thus, in Gambino the Parole Commission
         proceedings denied the prisoner due process of law. Id. at 163.
         Moreover, in Gambino the Parole Commission relied on facts
         previously found to be erroneous without information to suggest
         otherwise. Id. at 162. In Furnari’s case, however, there is
         considerable information supplying good cause for the Parole
         Commission’s decision.
                 Furnari is disappointed by the limited weight and
         credibility that the Parole Commission and the Board afforded
         the Zappola affidavit, but it is apparent it had a factual basis for
         its determination. The reports from the Board are thorough and
         reasonable. Furthermore, the Parole Commission considered
         Furnari’s information and articulated a rational basis for
         rejecting its credibility, a determination solely within its

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         discretion. Accordingly, the District Court properly denied
         Furnari’s exculpatory evidence claim of the habeas petition.
                D. Did the Parole Commission properly consider
                sentence proportionality as a mitigating factor in its
                decision to deny parole?

                 Furnari claims that the Parole Commission should have
         taken into account the lack of proportionality of his sentence
         when on July 8, 2005, it adhered to its prior determination to
         postpone any parole decision until a rehearing in 2011.6 It is
         unclear, however, whether he is challenging his sentence ab
         initio as the sentencing court imposed it or is challenging it on
         the basis of the Parole Commission’s allegedly erroneous
         exercise of its discretion in weighing the length of his sentence
         as a possible mitigating factor warranting release on parole.
         Therefore we will consider the sentencing point as if Furnari
         presented both ways.
                If Furnari is challenging his sentence ab initio, he brought
         his action in the wrong district because a defendant may

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             We note that the abuse of writ doctrine also might apply to
         this claim. Under McClesky v. Zant failure to raise a claim that
         could have been raised in an earlier habeas corpus petition can
         be grounds for dismissal of a later petition as an abuse of the
         writ unless the prisoner can meet the burden of showing cause
         and prejudice with respect to the omission. 499 U.S. 467, 492-
         93, 111 S.Ct. 1454, 1469-70 (1991). Here Furnari did not raise
         his proportionality claim in his previous petitions, but we
         nevertheless will consider it now because the Government did
         not plead abuse of the writ as an answer to this claim.

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         collaterally attack his conviction and sentence only in a
         proceeding before the sentencing court pursuant to 28 U.S.C. §
         2255. See United States v. Frady, 456 U.S. 152, 165, 102 S.Ct.
         1584, 1593 (1982); United States v. Addonizio, 442 U.S. 178,
         179, 99 S.Ct. 2235, 2237 (1979); see also Knight v. United
         States, 37 F.3d 769, 772 (1st Cir. 1994). In this regard 28
         U.S.C. § 2255 provides:
                A prisoner in custody under sentence of a court
                established by Act of Congress claiming the right
                to be released upon the ground that the sentence
                was imposed in violation of the Constitution or
                laws of the United States . . . may move the court
                which imposed the sentence to vacate, set aside or
                correct the sentence.
         Accordingly, if Furnari wished to attack his sentence ab initio,
         he was required to do so in a section 2255 petition in the
         Southern District of New York where he was convicted as
         neither the Parole Commission nor the District Court in the
         Middle District of Pennsylvania could address a challenge to his
         sentence as imposed on the basis that it was disproportionate as
         compared to that of other defendants. Moreover, Furnari did
         challenge the proportionality of his sentence on direct appeal but
         the United States Court of Appeals for the Second Circuit found
         Furnari’s sentence to be proportional. Salerno, 868 F.2d at 543.7

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              Furthermore, according to Furnari’s brief, he has filed a
         motion in the Southern District of New York seeking “to vacate
         the judgment imposing the 100 year sentence on the grounds
         that the sentence was based on false information.” Appellant’s
         br. at 5. We do not know if the court has ruled on that motion.

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                If, on the other hand, Furnari is challenging the Parole
         Commission’s refusal to find the length of his sentence a
         mitigating factor warranting a grant of parole, in a jurisdictional
         sense he brought his claim correctly as he is confined in the
         Middle District of Pennsylvania and we may consider it on the
         merits inasmuch as 28 U.S.C. § 2241 allows habeas corpus
         petitions to be brought attacking the Parole Commission’s
         exercise of discretion in making parole decisions in the district
         in which the petitioner is confined. See United States v.
         Eakman, 378 F.3d 294, 297 (3d Cir. 2004); Coady v. Vaughn,
         251 F.3d 480, 485 (3d Cir. 2001); United States v. Kennedy,
         851 F.2d 689, 690-91 (3d Cir. 1988).
                Parole determination criteria focus on the nature and
         circumstances of the offense and the history and characteristics
         of the offender as well as the consequences of releasing the
         prisoner back into the public:
                If an eligible prisoner has substantially observed
                the rules of the institution or institutions to which
                he has been confined, and if the Commission,
                upon consideration of the nature and
                circumstances of the offense and the history and
                characteristics of the prisoner, determines: (1) that
                release would not depreciate the seriousness of his
                offense or promote disrespect for the law; and (2)
                that release would not jeopardize the public
                welfare; subject to the provisions of subsections
                (b) and (c) of this section, and pursuant to
                guidelines promulgated by the Commission
                pursuant to section 4203(a)(1), such prisoner shall
                be released.

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         18 U.S.C. § 4206(a)(1)-(2). Section 4206(a) does not, however,
         mention the length of the sentence as imposed as a factor for the
         Parole Commission to consider in granting parole and thus
         Congress did not intend it to be a body with authority to review
         an initial sentencing determination of a sentencing court.
                 On the other hand, the Parole Commission has the
         complete authority to assign the weight to any mitigating factors
         in determining whether to grant parole. See Campbell, 704 F.2d
         at 113. We have held that “the statute instructs the Commission
         to use its own judgment in factoring sentencing length because
         sentencing and parole are separate, although related, processes.”
         Geraghty v. United States Parole Comm’n, 719 F.2d 1199, 1208
         (3d Cir. 1983). Accordingly, when considering mitigating
         factors in its determination of when to set a release date or
         rehearing date, the Parole Commission can consider the length
         of a prisoner’s sentence as compared to those of similarly
         situated prisoners. Id. But in Farkas v. United States, 744 F.2d
         37, 40 (6th Cir. 1984), the court held that the Parole
         Commission had no obligation to consider the petitioner’s
         sentence length in making its parole decision.
                In addressing the proportionality issue, the Board stated:
                You compare your sentence to sentences imposed
                on other defendants in other cases, but not to your
                own co-defendants. The Board refers you to the
                Second Circuit’s decision, United States v.
                Salerno, 868 F.2d 524, 542-543 (2d Cir. 1989),
                where the court affirmed your 100-year sentence
                and the 100-year sentences imposed on all but one
                of your co-defendants. The Second Circuit found
                that your 100-year sentence was constitutional

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                and it rejected your argument that your sentence
                was disproportionate to your crime, pointing out
                that you were a consigliere of the Luchese Family
                and ‘had been involved in many of the recorded
                meetings where intimate knowledge of the
                Commission’s violent business was evident.’ 868
                F.2d at 543. The Board agrees with the
                Commission’s conclusion on page 4 of the
                hearing summary that your sentence was not
                disproportionate to your crime and it declines to
                change the Commission’s decision for you.
         App. at 122. Though they were not subject to a statutory
         obligation to do so, the Parole Commission and the Board
         considered the length of Furnari’s sentence and found that it was
         not an appropriate mitigating circumstance warranting the grant
         of parole. We cannot possibly reject their conclusions in this
         respect because the mafia, an organization of which Furnari was
         a part and in whose activities he participated, as the record in
         this case demonstrates, intolerably set itself up as a sort of
         shadow government, complete with an established structure,
         exercising taxing, regulatory, and adjudicative authority over its
         members and victims. Indeed, even Furnari’s brief, which quite
         naturally attempts to minimize his mafia activities, paints what
         to us is a disturbing picture of the conduct for which he was
         convicted. There can be no doubt but that the Government must
         suppress the mafia and clearly the imposition of substantial
         criminal sentences on persons engaging in mafia criminal
         activity is one way to do so. Inasmuch as the Parole
         Commission has full discretion to determine the weight of
         mitigating factors in considering whether to grant parole, the
         District Court correctly held that the Parole Commission

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         properly considered the length of Furnari’s sentence when
         making its parole determination.

                             V. CONCLUSION
               In view of the aforesaid, we will affirm the District
         Court’s June 20, 2007 order.




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